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                              UNITED STATES FEDERAL COURT
                             SOUTHERN DISTRICT OF NEW YORK

  RODNEY JONES,                                            Case No.: 24-cv-01457
                        Plaintiff,
  -against-                                                DECLARATION OF
                                                           TYRONE BLACKBURN
  SEAN COMBS,                                              IN OPPOSITION TO COMBS
  JUSTIN DIOR COMBS,                                       DEFENDANTS (minus Justin Combs)
  CUBA GOODING JR.,                                        MOTION TO DISMISS AND REQUEST
  LUCIAN CHARLES GRAINGE,                                  TO TAKE JUDICIAL NOTICE OF
  KRISTINA KHORRAM,                                        COMBS FEDERAL INDICTMENT
  LOVE RECORDS,
  MOTOWN RECORDS,
  UNIVERSAL MUSIC GROUP,
  COMBS GLOBAL ENTERPRISES,
  JOHN and JANE DOES 1-10 and
  ABC CORPORATIONS. 1-10,
                Defendants.


I, Tyrone A. Blackburn, Esq., declare according to 28 U.S.C. §1746 as follows:

   1. I am over eighteen years old and am Counsel to Rodney Jones ("Plaintiff") in this action.
       I make this declaration in opposition to combs defendants (minus Justin Combs) motion to
       dismiss and request to take judicial notice of combs federal indictment.
   2. See attached Exhibit 1, a true and correct copy of the unsealed criminal indictment
       captioned: USA v. Combs; 24-cr-542.
   3. See attached Exhibit 2, a true and correct copy of:
              a. in the matter of Graves v. Combs et al., United States District Court, Southern
                 District of New York, Case No 1:24-cv-07201-AT;
              b. in the matter of English v. Combs et al., United States District Court, Southern
                 District of New York, Case 1:24-cv-05090-AT;
              c. in the matter of Jane Doe v. Combs et al., United States District Court, Southern
                 District of New York, Case 1:23-cv-10628-JGLC;
              d. in the matter of USA v. Combs et al., United States District Court, Southern District
                 of New York, Case 1:24-cr-00542-ALC;
              e. in the matter of McKinney v. Combs et al., United States District Court, Southern
                 District of New York, Case 1:24-cv-03931-NRB; and
              f. in the matter of Richard v. Combs et al., United States District Court, Southern
                 District of New York, Case 1:24-cv-06848-KPF.




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Under penalty of perjury under the laws of the United States of America, I declare that the
preceding is true and correct. I understand that if I intentionally lie, I will be punished.


Dated: September 30, 2024
                                                              _/s/Tyrone A. Blackburn, Esq. _____
                                                                         Tyrone A. Blackburn, Esq.
                                                                        T.A. Blackburn Law, PLLC
                                                                      1242 E. 80th Street, 3rd Floor
                                                                              Brooklyn, NY 11236
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